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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

VICKI TIMPA et al.,                    §
                                       §
               Plaintiffs,             §
                                       §
                                       §
JOE TIMPA,                             §
                                       § Civil Action No. 3:16-CV-3089-N
               Intervenor-Plaintiff,   §
                                       §
v.                                     §
                                       §
DUSTIN DILLARD et al.,                 §
                                       §
               Defendants.             §
______________________________________________________________________________

                         DEFENDANTS’ EXHIBIT LIST
______________________________________________________________________________

TO THE HONORABLE COURT:

       Defendants, Dustin Dillard, Danny Vasquez, Raymond Dominguez, and Kevin Mansell,

submit their list of trial exhibits pursuant to the Court’s Fourth Amended Scheduling Order (ECF

No. 225). Defendants do not contend that defense exhibits 28-43 are admissible; those exhibits

would be offered only in the event that Defendants’ motion to exclude the Dallas Police

Department’s general orders and training materials on crisis intervention are denied.

       Defendants reserve the right to introduce additional exhibits as may be necessary for

purposes of demonstration, impeachment, refreshing recollection, optional completeness, rebuttal,

or for any other purpose permissible under the Federal Rules of Evidence.




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                                                 Respectfully submitted,

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                                                 Raymond Dominguez, Kevin Mansell,
                                                 and Danny Vasquez



                                       CERTIFICATE OF SERVICE

        I hereby certify that on June 20, 2023, I electronically filed the foregoing with the clerk of
court for the U.S. District Court, Northern District of Texas, using the CM/ECF system which will
notify all case participants registered for electronic notice of this filing. I further certify that to the
extent applicable I have served all case participants not registered for electronic notice by another
manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                 s/ Lindsay Wilson Gowin
                                                 Senior Assistant City Attorney




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                                         EXHIBIT A

                            DEFENDANTS’ EXHIBIT LIST


DX                         Description                         Pre- Offered Admitted
No.                                                           Admit
 1    Merged Body-Worn Camera Video (with subtitles)
 2    Merged Body-Worn Camera Video (without subtitles)
 3    Body-Worn Camera – Vasquez (COD 4702)
 4    Body-Worn Camera – Rivera (COD 4703)
 5    Body-Worn Camera – Rivera (COD 4704)
 6    Body-Worn Camera – Dillard (COD 4705)
 7    NFA Surveillance Video Rec_002 (COD 4712)
 8    NFA Surveillance Video Rec_007 (COD 4713)
 9    911 Call – Timpa (subtitles) (COD 4729)
10    911 Call – Timpa (no subtitles) (COD 4729)
11    911 Call – Timpa (subtitles) (COD 4730)
12    911 Call – Timpa (no subtitles) (COD 4730)
13    911 Call – Female Driver (subtitles) (COD 4731)
14    911 Call – Female Driver (no subtitles) (COD 4731)
15    911 Call – Male Security Guard (subtitles) (COD 4732)
16    911 Call – Male Security Guard (no subtitles)
      (COD 4732)
17    Radio Traffic (COD 4733)
18    Radio Traffic (COD 4734)
19    Radio Traffic (COD 4735)
20    Radio Traffic (COD 4736)
21    Radio Traffic (COD 4737)
22    Radio Traffic (COD 4738)
23    Radio Traffic (COD 4739)
24    DF-R Prehospital Care Report Summary (DEFS
      000143)
25    Autopsy Report (COD 000510-518) (redacted)
26    DPD Incident Detail Report (DEFS 00032-38)
27    DF-R Incident Detail Report (DEFS 000039-43)
28    Intermediate CIT Training Slides (COD 4741-5215)
29    Intermediate CIT - Instructor Notes (COD 7245-7339)
30    Academy Class 345 Schedule (COD 5416-5452)
31    Academy Class 331 Schedule (COD 5654-5690)
32    CIT Lesson Plan 2013 (COD 5691-5743)
33    CIT Training Handout (COD 8490-8500)
34    Excited Delirium Lesson Plan (COD 7340-7354)
35    Excited Delirium Training Slides (COD 8197-8202)
36    Intermediate Use of Force Lesson Plan


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     (COD 7405-7515)
37   Mechanics of Arrest Training (COD 6045-6054)
38   Mental Impairment Training (COD 5800-5835)
39   Training Record – Mansell (COD 8182-8186)
40   Training Record – Dominguez (COD 8187-8190)
41   Training Record – Vasquez (COD 8194-8195)
42   Training Record – Dillard (COD 8196)
43   DPD Linear Use-of-Force Response Continuum Chart
44   Baylor, Scott & White Medical Records
     (COD 8510-8696)
45   EnterHealth Records (COD 8697-8849)
46   Excited Delirium Syndrome: Cause of Death and
     Prevention, by Theresa G. Di Maio and Vincent Di
     Maio (2005)
47   Kroll MW, Brave MA, Kleist SR, Ritter MB, Ross DL,
     Karch SB. Applied Force During Prone Restraint: Is
     Officer Weight a Factor? Am J Forensic Med Pathol.
     2019;40(1):1-7
48   Chan TC, Neuman T, Clausen J, Eisele J, Vilke GM.
     Weight force during prone restraint and respiratory
     function. Am J Forensic Med Pathol. 2004;25(3):185-
     189
49   Michalewicz BA, Chan TC, Vilke GM, Levy SS,
     Neuman TS, Kolkhorst FW. Ventilatory and metabolic
     demands during aggressive physical restraint in healthy
     adults. J Forensic Sci. 2007;52(1):171-175
50   Sloane C, Chan TC, Kolkhorst F, Neuman T, Castillo
     EM, Vilke GM. Evaluation of the ventilatory effects of
     the prone maximum restraint (PMR) position on obese
     human subjects. Forensic Sci Int. 2014;237:86-89
51   Hall CA, McHale AM, Kader AS, Stewart LC,
     MacCarthy CS, Fick GH. Incidence and outcome of
     prone positioning following police use of force in a
     prospective, consecutive cohort of subjects. J Forensic
     Leg Med. 2012;19(2):83-89
52   Karch SB. The problem of police-related cardiac arrest.
     J Forensic Leg Med. 2016;41:36-41
53   Savaser DJ, Campbell C, Castillo EM, et al. The effect
     of the prone maximal restraint position with and without
     weight force on cardiac output and other hemodynamic
     measures. J Forensic Leg Med. 2013;20(8):991-995
54   Hall CA, Votova K, Heyd C, et al. Restraint in police
     use of force events: examining sudden in custody death
     for prone and not-prone positions. J Forensic Leg Med.
     2015;31:29-35
55   Photo – DSC_0002

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56   Photo – DSC_0003
57   Photo – DSC_0034
58   Photo – DSC_0129
59   Photo – DSC_0138
60   Photo – DSC_0143
61   Photo – DSC_0152
62   Photo – DSC_0157
63   Photo – DSC_0164
64   Photo – DSC_0170
65   Photo – DSC_0172
66   Screenshots from BWC Videos
67   Timeline of Events on August 10, 2016
68   DPD General Orders (Demonstrative)
69   DPD Patrol SOPs (Demonstrative)
70   Training Mannequin (Demonstrative)
71   Kroll Report Table 1 (Demonstrative)
72   Kroll Report Figure 8 (Demonstrative)
73   Kroll Report Figure 9 (Demonstrative)




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